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                                    452




                                EXHIBIT I


               Letter from the Dean of
                 John Bums School of
                                Medicine
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  of HAWAl'r                                                                                            prrWEY BOWES


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  John A. Burns Schrxjl of Medicine                                                       MAILED FROM ZIP CODE 96813
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  Office of the Dean/HR
  651 Halo Street, Medical Education Building
  Honolulu, HI 96813                                                                        I jL c/0. /?
                                                      Ya-Wen Hsiao
                                                      1141 Hoolai Street, Apt //201   RETURN RECEIPT
                                                      Honolulu, HI   96814
                                                                                        REQUESTED




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Case 1:18-cv-00502-JAO-KJM Document 14-2 Filed 03/06/19 Page 3 John
                                                                of A.
                                                                    4 BurnsPageID       #:
                                                                            School of Medicine
                                    454                                     Office of the Dean


             University
             of HAWArr
                 Manoa



 November 2, 2018

 Ya-Wen Hsiao
 1141 Hoolal Street, Apt #201
 Honolulu. HI 96814

 Dear Ms. Hsiao;

 This letter is to clarify your employment status with the John A. Burns School of Medicine
(JABSOM), University of Hawai'i at Manoa.

 As you are aware, since you are not a U.S. citizen, your continued employment with
 JABSOM is dependent upon your immigration status.

 On January 13, 2011, the University submitted an Application for Permanent Employment
 Certification in order to sponsor you in your desire to obtain permanent residence in the
 United States. Unfortunately, that application was denied on March 23, 2012. Thereafter,
 on October 18,2012,the University submitted an appeal of the denial to the Board of Alien
 Labor Certification Appeals(BALCA). The appeal was denied on November 16, 2016. On
 December 1, 2016, a "Petition for En Banc Review" was submitted to BALCA. The petition
 was denied on March 29, 2017. On July 14,2017, a "Pro Se Motion for Relieffrom
 Judgement and Order and Personal letter from alien beneficiary" was submitted to BALCA.

 While the appeal and motions with BALCA were pending, the University submitted and
 received one-year extensions of Labor Condition Applications and H-1B Visas that allowed
 you to continue working at JABSOM. On August 14, 2018, the University's request for a
 one-year extension of the H-1 B visa was granted. The new H-1 B visa is effective from
 11/02/2018 to 11/01/2019. Thereafter, on August 20, 2018, BALCA issued an "Order
 Denying Employer's Pro Se Motion for Relieffrom Judgment and Order". The order was
 received by the University on August 27, 2018. There are no further steps that can be
 taken or will be taken by the University to appeal the initial denial of the Application for
 Permanent Employment Certification.

 It is the University's understanding that the H-1 B visa extension issued on August 14,
 2018, which is effective as of today, remains valid and allows for your continued
 employment until such time as it expires or the University is notified that the visa is no
 longer valid. Therefore, absent any other employment action by you or JABSOM, your
 employment at JABSOM may continue until such time as the visa expires on November 1,
 2019 or until the University is advised by theJU.S. Citizenship and Immigration Services
(USCIS)that your visa is no longer valid.




                                                                651 Halo Street, MEB, Honolulu, HI 96813-5534
                                                              An Equal Opportunity/Affirmative Action Institution
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 Hsiao, Y.                          455
November 2,2019
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You are further advised that it is also the University's understanding that since the
Application for Permanent Employment Certification has been denied by the U.S.
Department of Labor, once your current H-1B visa expires, no further applications for visa
extension may be submitted and the University will not be taking further action to extend
your work authorization beyond the expiration of the current H-1B visa.

Finally, you are strongly urged to consult with an attomey sooner rather than later
regarding your immigration status and the consequences to you personally if the H-1B visa
is revoked by USCIS prior to its expiration date or upon expiration of the current H-1 B visa
extension. Please note that this letter is not, and should not be construed as, legal advice.

Sincerely,



iOerris Hedges
Dean, John A. Burns School of Medicine
University of Hawaii - Manoa

cc:    Dr. Otsuki
       Isis Bataluna, Faculty & Scholar Immigration Services
